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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE



 ASTELLAS PHARMA INC., ASTELLAS
 IRELAND CO., LTD. and ASTELLAS
 PHARMA GLOBAL DEVELOPMENT,                                 C.A. No. 16-905-JFB-CJB
 INC.,                                                          CONSOLIDATED

                        Plaintiffs,

       v.                                             AMENDED ORDER OF DISMISSAL
                                                          WITHOUT PREJUDICE
 ACTAVIS ELIZABETH LLC, et al.

                        Defendants.


      This matter is before the Court on the parties’ joint stipulation for dismissal (D.I.

534) and pursuant to Federal Rule of Civil Procedure 41(a).


      THEREFORE, IT IS ORDERED THAT:


      1. Plaintiffs and Counterclaim-Defendants Astellas Pharma, Inc., Astellas Ireland

            Co., Ltd., and Astellas Pharma Global Development, Inc. (collectively,

            “Astellas”) and Defendants and Counterclaim-Plaintiffs Zydus Pharmaceuticals

            (USA) Inc. and Cadila Healthcare Limited (collectively, “Zydus”; collectively with

            Astellas, “the Parties”) have reached a settlement on issues raised in this

            consolidated matter, which includes Civil Action No. 16-cv-924, related to

            United States Patent Nos. 7,342,117, 7,982,049, 8,835,474, and RE44,872

            (collectively “Patents-in-suit”).

      2. Pursuant to a Settlement and License Agreement, the Parties respectfully

            request the Court dismiss all claims and counterclaims between the Parties
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         related to the 7,342,117, 7,982,049, 8,835,474, and RE44,872 (collectively

         “Patents-in-suit”) in Civil Action No. 16-cv-924 without prejudice.

      3. As required by the Medicare Prescription Drug, Improvement, and

         Modernization Act of 2003, the Parties will submit their settlement and license

         agreement to the Federal Trade Commission Bureau of Competition (“FTC”)

         and the Assistant Attorney General in charge of the Antitrust Division of the

         Department of Justice (“DOJ,” and together with the FTC, the “Agencies”) as

         soon as practicable.

      4. The Parties further request that the Court retain jurisdiction over this matter in

         the event that the Agencies render the settlement and license agreement null

         and void and either Party requests to reopen this litigation.

      5. Each Party will bear its own costs and attorneys’ fees.


      Dated this 13th day of September, 2019.


                                                BY THE COURT:

                                                s/ Joseph F. Bataillon
                                                Senior United States District Judge




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